








	





NUMBER 13-09-00659-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

HENRY TAYLOR, 	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

_____________________________________________________________


On appeal from the 94th District Court 


of Nueces County, Texas.

______________________________________________________________


MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Yañez and Vela


Memorandum Opinion Per Curiam


	Appellant, Henry Taylor, attempted to perfect an appeal from a conviction for
tampering with or fabricating physical evidence.  We dismiss the appeal for want of
jurisdiction.

	Sentence in this matter was imposed on September 15, 2009.  No motion for new
trial was filed.  Notice of appeal was filed on November 6, 2009.  On December 9, 2009,
the Clerk of this Court notified appellant that it appeared that the appeal was not timely
perfected.  Appellant was advised that the appeal would be dismissed if the defect was not
corrected within ten days from the date of receipt of the Court's directive.  Appellant 
responded to this notice indicating that he has filed an application for writ of habeas corpus
for purposes of pursuing an out of time appeal.

	Texas Rule of Appellate Procedure 26.2 provides that an appeal is perfected when
notice of appeal is filed within thirty days after the day sentence is imposed or suspended
in open court unless a motion for new trial is timely filed.  Tex. R. App. P. 26.2(a)(1).  The
time within which to file the notice may be enlarged if, within fifteen days after the deadline
for filing the notice, the party files the notice of appeal and a motion complying with Rule
10.5(b) of the Texas Rules of Appellate Procedure.  See id. 26.3.  Although the notice of
appeal herein was filed within the 15-day time period for filing a motion for extension of
time to file notice of appeal, no such motion for extension of time was filed.  See id.

	This Court's appellate jurisdiction in a criminal case is invoked by a timely filed
notice of appeal.  Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996).  "When a
notice of appeal is filed within the fifteen-day period but no timely motion for extension of
time is filed, the appellate court  lacks jurisdiction."  Olivo, 918 S.W.2d at 522.   Absent a
timely filed notice of appeal, a court of appeals does not obtain jurisdiction to address the
merits of the appeal in a criminal case and can take no action other than to dismiss the
appeal for want of jurisdiction.  Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App.
1998).  

	Appellant may be entitled to an out-of-time appeal by filing a post-conviction writ of
habeas corpus returnable to the Texas Court of Criminal Appeals; however, the availability
of that remedy is beyond the jurisdiction of this Court.  See Tex. Code Crim. Proc. Ann.
art. 11.07, § 3(a) (Vernon 2005); see also Ex parte Garcia, 988 S.W.2d 240 (Tex. Crim.
App. 1999).

	The appeal is DISMISSED FOR WANT OF JURISDICTION. 											PER CURIAM


Do not publish.  

Tex. R. App. P. 47.2(b).

Delivered and filed 

the 11th day of February, 2010. 



		



